Action commenced August 30, 1944, by Milwaukee county for reimbursement from Brown county and the city of Green Bay for the relief of one Minnie Zierhut under sec. 49.03, Stats.  After a hearing before the state department of public welfare, an order was entered dismissing the complaint. Upon appeal to the circuit court, judgment was entered *Page 91 
reversing the order of the department of public welfare, and an order entered directing payment of the claim.
The controversy was submitted to the department of public welfare upon an agreed statement of facts.  It appears therefrom that one Minnie Zierhut, then residing in Milwaukee county but having a legal settlement in Green Bay, received medical care and treatment from Milwaukee county between October 23 and November 20, 1943, in the amount of $217.50, and again between January 3, 1944, and March 12, 1944, in the amount of $315.43, a total of $532.93.
Minnie Zierhut moved from the city of Green Bay to live with her sons in Milwaukee county on June 9, 1943.  On October 1, 1943, old-age assistance which she had been receiving from Brown county since July 1, 1940, was discontinued on recommendation of the old-age-assistance department of Milwaukee county in a letter dated September 23, 1943.  The letter stated that the sons of Minnie Zierhut were employed and earning sufficient to provide for the full maintenance.
About the 25th of October, 1943, Minnie Zierhut was hospitalized at Milwaukee county hospital and a nonresident affidavit and notice was sent to and received by the city of Green Bay.  On November 3, 1943, the Green Bay department wrote asking the Milwaukee department of public assistance for a report on the financial situation of the Zierhut family, and stated that if Minnie Zierhut was going to need direct relief steadily they preferred her being returned to Green Bay. It also inquired why Minnie Zierhut had to ask for public aid in view of the recommendation of the old-age-assistance department that old-age assistance was not needed.
On December 13, 1943, Minnie Zierhut was denied old-age assistance from Milwaukee county for the reason that her sons were able to support her as they were earning a combined total of $74.45 per week. *Page 92 
Repeated efforts to collect from the Zierhut sons were met by failure, and on April 6, 1944, the department of public assistance notified the Green Bay public welfare department that it was seeking reimbursement from Green Bay.
The complaint alleged that Minnie Zierhut was in need of aid under sec. 49.03, Stats. 1943, as a poor and indigent person and that the city of Green Bay and Brown county were indebted to plaintiff in the amount of $532.93.  The answers stated that defendants had not sufficient knowledge or in: formation to form a belief that Minnie Zierhut was in need of aid under sec. 49.03, Stats. 1943, and denied that the city of Green Bay and Brown county were indebted to plaintiff. The answer of the city of Green Bay further alleged that the relief department of plaintiff county made no attempt to force children of the recipient to contribute toward their mother's support.
Sec. 49.03 (1), Stats. 1943, provides for local relief of transient paupers.  It states:
"(1) When any person not having a legal settlement therein shall be taken sick, lame or otherwise disabled in any town, city or village, or from any other cause shall be in need of relief as a poor person and shall not have money or property to pay his board, maintenance, attendance and medical aid and shall make a sworn statement setting forth the facts relating to his legal settlement, the town board, village board or common council shall provide such assistance to such persons as it may deem just and necessary. . . ."
It appearing that recipient was "in need of relief as a poor person" the board of public assistance of Milwaukee county *Page 93 
was within the provisions of the statute in giving the relief, and consequently is entitled to reimbursement from the county of legal settlement, Brown county.
There is no question that, aside from the financial resources of recipient's sons, Mrs. Zierhut was totally without financial means.  Sec. 49.11, Stats. 1943, provides that, (1) "The father, mother, husband, children and wife of any poor person who is blind, old, lame, impotent or decrepit so as to be, or for any other reason is, unable to maintain himself, shall relieve and maintain such poor person, so far as they are able. . . ."  The statute further provides that upon failure of any such relative so to do the said authorities shall apply to the county judge of the county of which such poor person is resident for an order to compel such relief.  A notice is required to be served on the person responsible at least fourteen days before a hearing is had to determine liability.  The order may then be made specifying the payment of a weekly sum to the person in need.
It is the contention of appellant that this statute must be invoked before the prospective recipient becomes a "poor person" within the provisions of sec. 49.03, Stats. 1943.Carthaus v. Ozaukee County (1941), 236 Wis. 438,295 N.W. 678, cited by the state department of public welfare director in his order and relied upon by appellant is not in point. In that case there was failure of proof of the inability to pay of the young man involved.  He was twenty-two years of age, unmarried, living at home, and had never been on relief.  In the case at bar, the only question is the legal one of whether a person, otherwise wholly without means, is not, a "poor person" because he has relatives legally obligated to support him.
It is our opinion that the trial court was correct in holding that such a person is a "poor person."  Sec. 49.11, Stats. 1943, is prospective in its operation.  It makes provision for an order for future support and requires a fourteen-day notice to the relative.  When faced with the emergency of an immediate hospital case, it is not likely that it was intended to *Page 94 
preclude the individual from receiving relief until action is taken under sec. 49.11, Stats. 1943.  The question whether the section can be construed to allow an action against the relative for payment of indebtedness for support already rendered is not involved here.
Further, as is pointed out in the respondent's brief, sec.49.11, Stats. 1943, employs the term "poor person."  It very evidently was contemplated that a person otherwise destitute fails within the category of a "poor person" even though he may have relatives liable for his support.
By the Court. — Judgment affirmed.